                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                      )
                                              )       No. 2:11-00002
       v.                                     )       Aleta A. Trauger
                                              )       Judge, U.S. District Court
TRESHA MAE SHERRILL                           )

                                       AGREED ORDER

       Upon agreement of the parties, it is hereby ORDERED that:

       1) Ms. Sherrill was convicted of the non-violent felony of Conspiracy to Distribute and

Possess With Intent To Distribute Oxycodone, Hydrocone, and Alprazolam pursuant to 21 U.S.C.

846. Ms. Sherrill was sentenced to twelve months and one day to be followed by three years of

supervised release.

       2) Ms. Sherrill has been deemed indigent and counsel has been appointed.

       3) Ms. Sherrill is ordered to undergo both an alcohol and drug assessment, and treatment, in
the form of a minimum thirty (30) day inpatient or residential treatment.

       4)Ms. Sherrill will be released only to the treating agency or to an employee of the Federal
Public Defenders office who will transport her directly to the treatment facility.

        5) Counsel for Ms. Sherrill shall file a supplemental order specifying the release date once
it has been confirmed with the treatment facility.

       6) All previous conditions of supervision remain in effect.

       IT IS SO ORDERED.

                    14th day of August
       ENTERED this _____                                     , 2014.


                                              __________________________________
                                              ALETA A. TRAUGER
                                              Judge, United States District Court




Case 2:11-cr-00002        Document 1752           Filed 08/14/14     Page 1 of 2 PageID #: 4555
APPROVED FOR ENTRY:

s/ Dumaka Shabazz
Dumaka Shabazz (BPR #022278)
Assistant Federal Public Defender
810 Broadway, Suite 200
Nashville, TN 37203
Attorney for Tiffany Norris


s/ Harold B. McDonough, Jr.
Harold B. McDonough, Jr.
Assistant United States Attorney
110 Ninth Avenue South, Suite A961
Nashville, TN 37203
Attorney for the Government




Case 2:11-cr-00002       Document 1752   Filed 08/14/14   Page 2 of 2 PageID #: 4556
